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                     Application granted. The initial conference is hereby
                     adjourned to December 4, 2020 at 3:30 pm. The parties
                     shall file the joint letter and proposed case management
                     plan described in the Court's August 21, 2020 Order, Dkt.
                     5, no later than November 27, 2020.


                                                              SO ORDERED.


                                                   ______________________
                                                        Hon. Ronnie Abrams
                                                          November 6, 2020
